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                                UNITED STATES DISTRICT COURT
                                            FOR THE
                             SOUTHERN DISTRICT OF TEXAS
                                     HOUSTON DIVISION
Alberto Patino, et al.,                       )
                                              )
___________________________________ )
       Plaintiff(s),                          )
                                              )
               v.                             )               Civil Action No.
                                              )               H-14-3241
City of Pasadena                              )
___________________________________ )
       Defendant(s).                          )



               UNOPPOSED MOTION TO PRECLEAR POLLING PLACES

       In its judgment of January 6, 2017, the Court ordered that no change in a voting

qualification, standard, practice, or procedure be enforced unless it is first submitted to the

Attorney General of the United States or to this Court for a finding that the qualification, standard

practice, or procedure does not have the purpose and will not have the effect of denying or

abridging the right to vote on account of race or color or in contravention of the voting guarantees

set forth in 52 U.S.C, § 10303(f)(2). Patino v City of Pasadena, No. H-14-3241, Final Judgment

and Order of Injunction. {Doc. 162). This requirement continues until June 30, 2023, and the

Court has retained jurisdiction until that time. Id. As the May 6 election for the city council will

be the last general election to be held during the time for preclearance set out in this Court’s 2017


                                                  1
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order and absent any polling place changes in the event of a potential runoff, this will likely be the

final submission during that period.

       I have shared this motion and proposed order with Nina Perales, the attorney for the

plaintiff in this cause, and I am authorized to represent that the plaintiffs do not oppose the motion

for preclearance.

                            SUBMISSION OF POLLING PLACES

The Switch from City-Conducted to County-Conducted Elections

       A change in the location of polling places is an election practice that typically requires

preclearance. See, e.g., 28 C.F.R. § 51.13(d). The Court’s 2017 order applies to changes “with

respect to voting different from that in force or effect on December 1, 2013.” Patino v City of

Pasadena, No. H-14-3241, Final Judgment and Order of Injunction (Doc. 162), at 4-5. In 2013,

the city conducted its own election and designated the polling places. Voters were required to cast

election-day ballots in the district where they resided.

       Subsequently, the City of Pasadena, rather than conducting its own elections, began to

contract with Harris County to conduct its election as a joint election with other entities throughout

the county that were holding elections on the same day. Beginning in 2019, Harris County became

a vote center county. See, Tex. Elec. Code, § 43.007. As such, its elections are now conducted

under a countywide polling place program so that, for example, when Pasadena contracts with the

county to conduct its election, its residents are not restricted to casting their votes for the city

council elections in the precinct in which they reside but can appear and vote a Pasadena city ballot

in any polling place in Harris County. Because the county conducts the election, it, rather than the

city, designates the polling places. In the coming 2023 election, there will be more than 140 sites


                                                  2
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that a Pasadena voter can choose from.           Although some Pasadena residents’ ballots will

undoubtedly be cast at polling places in other parts of the county, it is reasonable to assume that

most will be cast in a location within the city, so our focus in this motion is on the locations actually

in the city as those will be most relevant to determining if the change in the polling place locations

has the purpose or effect of denying or abridging the right to vote on account of race, color, or

language-minority status. Whether one compares the 2023 locations either to the 2013 date set

out in the Court’s order or to the most recent council election in 2021, it is apparent that there is

neither the purpose nor the effect of hindering the opportunity to cast a vote.

         COMPARISON OF POLLING PLACE SITES FOR 2013, 2021, AND 2023

Polling Places in 2013

        In 2013, the date set as a benchmark in the Court’s judgment and a time when Harris

County voters were required to cast their election-day votes in their precinct of residence, the city

conducted its own election rather than contracting with the county. There were ten election day

polling places—one in each council district except for the very large and spread-out District H,

which had three. 1 Similarly, in 2013 there was one early voting site, which was located at city

hall. A list and map of the election-day polling places is attached as Exhibit A.

Polling Places in 2021, the Most Recent Election


        The ten election day polling places and one early voting site in 2013, with each person

restricted to cast an election day vote in the precinct of his or her residence, compares to seventeen

election polling places in 2021, three of which also served as early voting sites. The distribution



1
 District H, which encompassed 37.58 square miles, was larger than the other seven council districts
combined.
                                                   3
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of the polling places was Districts A, B, and C—2 each for a total of 6; District D-3; District E-2;

District F-4, District G-1, and District H-1. The categorization of polling places by district can be

somewhat misleading, since in the 2021 election voters could vote at any of them, and some are

literally across the street from an adjoining district. For example, polling places at Bailey

Elementary School in District E and Teague Elementary School in District F are located on the

border with District G. Golden Acres Elementary School in District F is located on the that

district’s border with District E. And, of course, any voter could vote at any Harris County polling

location located outside the city. Three of the election day polling locations also served as early

voting sites. They were located in Districts A, F, and G—one in the northern part of the city, one

in the west, and one in the east. In short, once the city contracted with the county to run its election,

the number of polling places located in the city almost doubled (from ten to 17 and the number of

early voting sites tripled, as well as providing the opportunity for Pasadena residents to cast their

votes at more than 100 additional sites located outside the city limits. A list and map of the 2021

polling places is attached as Exhibit B.


The 2023 Polling Locations Before the Court for Preclearance


        The 2023 polling places preserve and perhaps slightly enhance the increased opportunities

instituted in 2021 to cast a vote at a conveniently located polling place. The three early voting

sites remain the same. Instead of 17 election day polling places, there are now 18. Fifteen of the

17 election-day sites from 2021 did not change. Two—McMaster Elementary and Red Bluff

Elementary—were no longer used and were replaced by Harvey Turner Elementary and Jackson

Intermediate School. The net gain of one polling place comes from the addition of a site on the

campus of San Jacinto College, a community college located in the city limits that primarily serves

students residing in multiple school districts in the eastern part of the county including Pasadena

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I.S.D. Pasadena residents who are not associated with the college can certainly cast ballots there,

but it is likely most voters will be students and faculty who may be from cities other than Pasadena.


       Districts A-E, the five districts that have a Spanish-surname-registered-voter majority have

two polling places each. Among that group, District D loses a voting site from 2021, going from

three to two; however, the residents of that district will not have any city race on their ballots as

their councilmember, Ms. Pat Van Houte, is unopposed for reelection, and the citywide election

for mayor does not occur until 2025 when the county may choose different polling places. District

G, which had one polling place in both 2013 and 2021 increases from one to two locations. In the

case of that district, the polling place locations remained the same, but the district boundaries

changed so that the polling place that was in District F across the street from District G is now in

District G due to the 2022 redistricting expanding the size of District G.      District H, the least

Hispanic district, continues to have only one polling place as it did in 2021 and compared to three

it had in 2013. Finally, District F increases from four to five polling locations. One location

essentially replaces the one lost to District G when the boundary changed while the net gain is by

the addition of a polling place at San Jacinto College. A map and list of the 2023 polling places is

attached as Exhibit C.


  CHANGES IN THE POLLING PLACES HAD NEITHER THE PURPOSE NOR THE
                    EFFECT OF DISCRIMINATING

       Changes in the number and location of polling places are the result of two actions—the

decision to contract with the county to run the city election and the choice of the polling place

locations. Neither reflects a discriminatory purpose. Contracting with the county meant that any

Pasadena resident could vote at any polling place in the county; thus, increasing voters’ options

from 2013 by more than 14-fold. Even if a voter does not find it convenient to vote at an out-of-


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city polling place, he or she now has the option to vote at any polling place in the city, rather than

being confined to having to vote at only one designated location. Further, there are more in-city

locations to choose from. Significantly increasing the ease and opportunity to cast a vote cannot

have been done with a discriminatory purpose.


        The choice of specific locations does not have a discriminatory purpose. First, that choice

of the specific locations is made by the county elections administrator, not the city. Second, while

every district other than District H has a Hispanic-citizen-voting-age population percentage of 45

per cent or more, five districts (Districts A-E) have a majority of Hispanic registered voters. See,

Unopposed Motion to Approve City of Pasadena’s City Council Redistricting Plan Pursuant to

Section 3 of the Voting Rights Act (Doc. 176), at pp. 7, Table II. The map of 2023 polling places

suggest there is hardly any area in those five districts or for that matter, in the two districts—

Districts F and G—where at least 45 percent but less than a majority of the adult citizens are

Hispanic, that is not within a mile of at least one and generally more polling places. 2 See, Exhibit

D. If there was any intent to discriminate on the basis of race or language-minority status,

increasing available polling places to make voting easier and more convenient, especially in the

parts of the city with high concentrations of Hispanics, would have been a strange way to

accomplish it.


        The standard for determining whether a change in an election practice has the purpose or

effect of discriminating was stated by the Supreme Court in Beer v. United States, 425 U.S. 130,

141 (1976) as being “to insure that no voting-procedure changes would be made that would lead

to a retrogression in the position of racial minorities with respect to their effective exercise of the


2
  There is a large area of District D north of Highway 225 that is devoid of polling places, but it is the
location of large industrial facilities along the Houston Ship Channel and contains no residential population.
                                                      6
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electoral franchise.” It went on to say that it is apparent that an electoral change “that enhances

the position of racial minorities with respect to their effective exercise of the electoral franchise

can hardly have the ‘effect’ of diluting or abridging the right to vote on account of race with the

meaning of § 5.” Id. See also, 28 C.F.R § 51.54(b) (Beer test of retrogression provides the standard

for Attorney General review). While Beer was decided under section 5, the finding required under

section 3 is the same as under section 5 as the language of the two statutes is substantively identical.

Compare, 52 U.S.C. § 10304(a) (section 5) with 52 U.S.C. § 103043(c) (section 3). See also, 28

C.F.R., §§ 51.08, 51.54. Certainly here, where there is a significant increase in the availability of

polling places between 2013 and 2021 and a slight increase between 2021 and 2023, the changes

in the number and location of polling places has no retrogressive effect.


                           POSSIBILITY OF FURTHER CHANGES


        Although no changes are anticipated, when there are well in excess of one hundred polling

places across the county, it is not atypical for a polling place to become unexpectedly unavailable.

In that sort of case, the county will delete it from the list and likely add another. If this happens in

Kingwood or Katy, for example, it will change the number or locations of polling places that a

Pasadena resident would be able to choose, but as a practical matter it would be highly unlikely to

have any actual effect on Pasadena voters. To avoid the necessity of additional requests to the

Court or to the Attorney General in the event of changes to polling places outside the Pasadena

city limits, the City requests that the Court’s order provide that further preclearance of potential

changes in the number or location of polling places is required only if the change results in a

deletion of any of the 18 polling places located within the city and currently approved for use in

the 2023 election.



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                                             PRAYER

       The City of Pasadena prays that the Court issue an order finding that the submitted list of

polling places for the May 6, 2023, city council election does not have the purpose and will not

have the effect of denying or abridging the right to vote on account of race or color or in

contravention of the voting guarantees set forth in 52 U.S.C § 10303(c) and that the Court further

order that a change in the list of submitted polling places will not require further review and

preclearance unless the change includes the deletion of one or more of the submitted 18 polling

locations within the city limits of the City of Pasadena.


                              CERTIFICATE OF CONFERENCE

       On March 21, 2023, I conferred by email with Ms. Nina Perales of MALDEF, and I

provided her with a draft copy of this motion, its exhibits, and the proposed order. She responded

that “Plaintiffs do not oppose the motion for preclearance.”

                                                  Respectfully submitted,

                                                  By: ___/s/ C. Robert Heath

                                                  C. ROBERT HEATH
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                                                  BICKERSTAFF HEATH DELGADO ACOSTA LLP
                                                  3711 S. Mopac Expressway
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                                                  Austin, Texas 78746
                                                  Telephone: (512) 472-8021
                                                  Facsimile: (512) 320-5638
                                                  bheath@bickerstaff.com

                                                  Attorneys for the City of Pasadena




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                                CERTIFICATE OF SERVICE


        This is to certify that a true and correct copy of the foregoing document has been served
via electronic filing service provider, email, facsimile, and/or Certified Mail Return Receipt
Requested to all parties of record listed below on this the 21st day of March 2023.

Nina Perales
Vice President of Litigation
Mexican American Legal Defense
and Educational Fund, Inc. (MALDEF)
110 Broadway Suite 300
San Antonio, TX 78205
ph. (210) 224-5476
fax (210) 224-5382
www.maldef.org


                                                     ____/s/ C. Robert Heath
                                                           C. Robert Heath




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                EXHIBIT A
   A Map and list of 2013 polling places
                                                                                                 Case 4:14-cv-03241 Document 180 Filed on 03/21/23 in TXSD Page 11 of 27




                                                                                                         Dist D

                                                                                                                         Deepwater
                                                                   Dezavala Fifth Grade Center                           Elementary School
                                                                   101 Jackson Pasadena                                  309 Glenmore
                                                                   Texas 77506                                           Pasadena Texas 77503
                                                                  "                                                      "
                                                              Dist A
                                                                                                      Dist C Pal Gym
                                                                                                               2910 Southmore
                                                                                                               Pasadena Texas 77503
                                                                                                               "
                                                     Dist B                                       Mae Smythe Elementary School
                                                     Queens Intermediate School                   2202 Pasadena Boulevard
                                                     1112 Queens Road                             Pasadena Texas 77502
                                                     Pasadena Texas 77502                         "
                                                     "
                                                                                                      Dist E




                                                          Miller Intermediate School                               Dist F
                                                             1002 Fairmont Parkway
                                                              Pasadena Texas 77504
                                                                                  "                            Bondy Intermediate School
                                                                                                                   5101 Keith Avenue
                                                                                       Dist G                                              " Fire Station No. 8
                                                                                                                 Pasadena Texas 77505           4100 Space Center
                                                                                                                     "                          Boulevard Texas 77505




                                                                                                                                                                        Fire Station No. 10
                                                                                                                                                                        17200 Middlebrook      Dist H
                                                                                                                                                                        Drive Pasadena Texas
                                                                                                                                                                        "




    Legend
                                                                                                                                                                                                        Fire Station No. 6
                                                                                                                                                                                                        1200 Kirby Road
                                                                                                                                                                                                        Pasadena Texas
                                                                                                                                                                                                        "
        "   May 2013 Voting Locations
    Current Council Districts
                                     F
                   C


                             D




                                                     H
    A


            B




                                 E




                                              G




                                                                                                                          City of Pasadena
E   0       0.75       1.5               3
                                             Miles
                                                                                                                        2013 Council Districts
                                                                                                                                                                                                                        © 2023 Bickerstaff Heath Delgado Acosta LLP
                                                                                                                                                                                                                               Data Source: Roads, Water and other
                                                                                                                                                                                                                                     features obtained from the 2020
                                                                                                                   with May 2013 Voting Locations
Created: 3/16/2023
                                                                                                                                                                                                                                  Tiger/line files, U.S. Census Bureau
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             CITY OF PASADENA POLLING LOCATIONS


                 ELECTION        DAY     —     MAY   11, 2013


  DISTRICT                 LOCATION                            ADDRESS
 District “A”       DeZavala Fifth Grade Center               101 Jackson
                                                          Pasadena, TX 17506

 District “B”       Queens Intermediate School             1112 Queens Road
                                                          Pasadena, TX 77502

 District “C”                Pal Gym                        2910 Southmore
                                                          Pasadena, TX 11503

 District “D”      Deepwater Elementary School               309 Glenmore
                                                          Pasadena, TX 77503

 District “E”      Mae Smythe Elementary School           2202 Pasadena Blvd.
                                                          Pasadena, TX 11502

 District “F”        Bondy Intermediate School             5101 Keith Avenue
                                                          Pasadena, TX 77505

 District “G”        Miller Intermediate School           1002 Fairmont Parkway
                                                           Pasadena, TX 77504

 District H”
         “               Fire Station No. 6                   1200 Kirby Road
   (South)                                                     Pasadena, TX
                                                         (Mailing: Seabrook, TX 77586)


 District “H”            Fire Station No. 8              4100 Space Center Blvd.
    (North)                                               Pasadena, TX 71505


 District “H”            Fire Station No. 10             17200 Middlebrook Drive
  (Bay Area)                                                  Pasadena, TX
                                                         (Mailing: Houston, TX 77059)




                                  Exhibit A-I
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         CIUDAD DE PASADENA LUGARES DE VOTACION

            DIA DE ELECCIONES               —    MAYO II, 2013


  DISTRITO                 UBICACION                        DIRECCION
 Distrito “A”    DeZavala Centro del Quinto Grado           101 Jackson
                                                        Pasadena, TX 77506

 Distrito “B”       Queens Escuela Intermedia            1112 Queens Road
                                                        Pasadena, TX 77502

 Distrito “C”          Pal Gym (Gimnasio)                 2910 Southmore
                                                        Pasadena, TX 77503

 Distrito “D”      Deepwater Escuela Elemental              309 Glenmore
                                                         Pasadena, TX 77503

 Distrito “E”     Mae Smythe Escuela Elemental           2202 Pasadena Blvd.
                                                         Pasadena, TX 17502

 Distrito “F”        Bondy Escuela Intermedia             5101 Keith Avenue
                                                         Pasadena, TX 77505

 Distrito “G”        Miller Escuela Intermedia          1002 Fairmont Parkway
                                                         Pasadena, TX 77504

 Distrito “H”       EstaciOn de Bomberos No. 6              1200 Kirby Road
     (Sur)                                                   Pasadena, TX
                                                      Por Correo:Seabrook, TX 77586


 Distrito “H”       EstaciOn de Bomberos No. 8         4100 Space Center Blvd.
    (Node)                                              Pasadena, TX 77505


 Distrito “H”      Estación de Bomberos No. 10         17200 Middlebrook Drive
  (Bay Area)                                                Pasadena, TX
                                                       Por Correo: Houston, TX 77059




                                 Exhibit A-2
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                           i89




                           May 11, 2013
                             Election


                 EARLY VOTING HOURS/LOCATION

                                I...                         S S




               ALL EARLY VOTING WILL TAKE PLACE AT:

                              CITY HALL
                           1211 Southmore
                         Pasadena, TX 77502

         Day                     Date                    Hours

       Monday               April 29, 2013       8:00 A.M.   —     5:00

       Tuesday              April 30, 2013       8:00 A.M.   —     5:00 P.M.

     Wednesday              MayOl,2013           8:OOA.M.—5:OOP.M.

      Thursday              May 02, 2013         8:00 A.M.   —     5:00 P.M.

        Friday              May 03, 2013         7:00 A.M.   —     7:00 P.M.

      Saturday              May 04, 2013         7:00 A.M.   —     7:00 P.M.

       Monday               May 06, 2013         8:00 A.M.   —     5:00 P.M.

       Tuesday              May 07, 2013         7:00 A.M.   —     7:00 P.M.




                                Exhibit B-I
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                EXHIBIT B
     Map and list of 2021 polling places
                                                                                                   Case 4:14-cv-03241 Document 180 Filed on 03/21/23 in TXSD Page 16 of 27




                                                                                                                  Dist D
                                                    John Phelps Courthouse
                                                    101 South Richey Street
                                                     Pasadena Texas 77506                                                             Deepwater Junior High School
                                                                              Red Bluff Elementary School
                                                                   "
                                                                                                                                      501 Glenmore Drive
                                                                               416 Bearle Street Pasadena                             Pasadena Texas 77503
                                                                                         Texas 77506-3098                            "
                                                                                                        " Pomeroy Elementary School
                                                                         Dist A                             920 Burke Road                  McMasters Elementary School
                                                                                                            Pasadena Texas 77506            1011 Bennett Drive
                                                                                                                                            Pasadena Texas 77503-2205
                                                                                      Bobby Shaw Middle School
                                                                                                           "
                                                         Williams Elementary School                                Dist C
                                                                                                                                           "
                                                                                          1201 Houston Avenue                 Keller Middle School
                                                         1522 Scarborough Lane           Pasadena Texas 77502                 1711 Magnolia Street
                                                         Pasadena Texas 77502-1674            "                               Pasadena Texas 77503
                                                        "                                                                    "
                                     Nelda Sullivan Middle School
                                                                    Dist B         Sam Rayburn High School Dist E
                                                1112 Queens Road
                                                                                     2121 Cherrybrook Lane
                                           Pasadena Texas 77502
                                                                                      Pasadena Texas 77502 "
                                                                "                                                                    Golden Acres Elementary School
                                                                                             Bailey Elementary School                5232 Sycamore Avenue
                                                                                           " 2707 Lafferty Road                      Pasadena Texas 77503
                                                                                             Pasadena Texas 77502                   "                                      East Harris County
                                                                                                                                                                           Activity Center
                                                                                                                                                                           7340 Spencer Highway
                                                                                                                         Parkgate Community Church                         Pasadena Texas 77505
                                                                                                                         3715 Preston Avenue Pasadena
                                                                                                                                                                          "
                                                                                       BakerRipley Cleveland Campus      Texas 77505
                                                                                       720 Fairmont Parkway               "
                                                                                       Pasadena Texas 77504                                                    Fairmont Elementary School
                                                                                                                                 Dist F
                                                                                                                                                               4315 Heathfield Drive
                                                                                      "
                                                                                              Dist G           Carroll Teague Elementary School                Pasadena Texas 77505-4242
                                                                                                               4200 Crenshaw Road                             "
                                                                                                               Pasadena Texas 77504
                                                                                                              "




                                                                                                                                                                                                  Dist H




    Legend
        "   May 2021 Voting Locations
    Current Council Districts
                                     F
                   C


                             D




                                                       H
    A


            B




                                 E




                                               G




                                                                                                                               City of Pasadena
E   0       0.75       1.5              3
                                            Miles
                                                                                                                             2021 Council Districts
                                                                                                                                                                                                           © 2023 Bickerstaff Heath Delgado Acosta LLP
                                                                                                                                                                                                                  Data Source: Roads, Water and other
                                                                                                                                                                                                                        features obtained from the 2020
                                                                                                                        with May 2021 Voting Locations
Created: 3/16/2023
                                                                                                                                                                                                                     Tiger/line files, U.S. Census Bureau
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VOTING LOCATIONS                                                                            PRINTED ON: 04/19/21
                     Location                                Address 1               City             Zip      EVSite
Cedar Bayou Junior School                        2610 Elvinta Street          Baytown             77520
De Zavala Elementary School                      305 Tri City Beach Road      Baytown             77520
George H Gentry Junior High School               1919 East Archer Road        Baytown             77521
Goose Creek CISD Administration Building         4544 Interstate 10           Baytown             77520
Goose Creek Memorial High School                 6001 East Wallisville Road   Baytown             77521
JD Walker Community Center                       7613 Wade Road               Baytown             77521        EV
Lee College                                      550 Lee Drive                Baytown             77520        EV
Navarre Funeral Home Inc.                        2444 Rollingbrook Drive      Baytown             77521
Stuart Career Tech High School                   300 YMCA Drive               Baytown             77521
William B. Travis Elementary                     100 Robin Road               Baytown             77520
Crosby Community Center                          409 Hare Road                Crosby              77532        EV
Harris County WCID 70                            2935 Foley Road              Crosby              77532
Royce Black Elementary School                    14155 Grant Road             Cypress             77429
Saint John Lutheran Church and School            15235 Spring Cypress Road    Cypress             77429        EV
Reformation Temple Church                        2033 Pickerton Drive         Deer Park           77536
San Jacinto Community Center                     604 Highland Woods Drive     Highlands           77562        EV
A Community of the Servant Savior Presb Church   11303 Hughes Road            Houston             77089
Beverly Hills Community Center                   10201 Kingspoint Road        Houston             77075
County Attorney Conference Center                1019 Congress Avenue         Houston             77002        EV
Deussen Park Senior Center                       12303 Sonnier Street         Houston             77044
El Franco Lee Community Center                   9500 Hall Road               Houston             77089        EV
Emmott Elementary School                         11750 Steeple Way Blvd       Houston             77065
Fallbrook Church                                 12512 Walters Road           Houston             77014
Frazier Elementary School PISD                   10503 Hughes Road            Houston             77089
Garfield Elementary School                       10301 Hartsook Street        Houston             77034-3596
Genoa Staff Development Center                   12900 Almeda Genoa Road      Houston             77034
Greater Saint Matthew Baptist Church SW          14919 South Main             Houston             77035
Campus
Katherine Tyra Branch Library                    16719 Clay Road              Houston             77084        EV
Lakeshore Elementary School                      13333 Breakwater Path Dr     Houston             77044
Laura Welch Bush Elementary School               9100 Blackhawk Boulevard     Houston             77075-2250
Lone Star Flight Museum                          11551 Aerospace Avenue       Houston             77034
Prairie View A&M University Northwest            9449 Grant Road              Houston             77070        EV
Rick Schneider Middle School                     8420 Easthaven Boulevard     Houston             77075
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VOTING LOCATIONS                                                                            PRINTED ON: 04/19/21
                     Location                             Address 1                  City             Zip      EVSite
Saint Andrews Presbyterian Church              5308 Buffalo Speedway           Houston            77005-2122
Saint Timothy Lutheran Church                  14225 Hargrave Road             Houston            77070
SJC South Campus Fine Arts Center Bldg 15      13735 Beamer Road               Houston            77089
South Belt Elementary School                   1801 Riverstone Ranch Rd        Houston            77089-5724
Southside Place Park Clubhouse                 3743 Garnet Street              Houston            77005-3715
The Church Without Walls                       5725 Queenston Boulevard        Houston            77084
University of Houston Clear Lake               2700 Bay Area Boulevard         Houston            77058        EV
Willie B Ermel Elementary School               7103 Woodsman Trail             Houston            77040-1839
Windsor Village Community Center               14441 Croquet Lane              Houston            77085        EV
Woodcreek Middle School                        14600 Woodson Park Drive        Houston            77044
West Campus Gym                                24403 East Lake Houston Pkwy    Huffman            77336
Atascocita Middle School                       18810 West Lake Houston Pkwy    Humble             77346
Calvary Hills Funeral Home                     21723 Aldine Westfield Rd       Humble             77338
Eagle Springs Elementary School                12500 Will Clayton Parkway      Humble             77346-3006
Fall Creek Elementary School                   14435 Mesa Drive                Humble             77396
Humble Civic Center                            8233 Will Clayton Parkway       Humble             77338        EV
Humble ISD Collaboration Center                10203 Birchridge Drive          Humble             77346
Humble Middle School                           11207 Will Clayton Parkway      Humble             77346-3005
Kingwood High School                           2701 Kingwood Drive             Humble             77339
Lake Houston Church of Christ                  8003 Farmingham Road            Humble             77346        EV
Lake Houston Church of the Nazarene            5616 FM 1960 Road East          Humble             77346
Oak Forest Elementary School                   6400 Kingwood Glen Drive        Humble             77346-2039
Oaks Elementary School                         5858 Upper Lake Drive           Humble             77346
Pine Forest Elementary School                  19702 West Lake Houston Pkwy    Humble             77346
River Pines Elementary School                  2400 Cold River Drive           Humble             77396
Sierra Meadows Apartments                      9835 N. Sam Houston Pkwy East   Humble             77396
The Light of the World Christian Fellowship    16161 Old Humble Road           Humble             77396
Timbers Elementary School                      6910 Lonesome Woods Tr          Humble             77346-5016
Whispering Pines Elementary School             17321 Woodland Hills Drive      Humble             77346
Willow Creek Elementary School Humble ISD      2002 Willow Terrace Drive       Humble             77345
Hampton Inn & Suites Houston-Katy              22055 Katy Freeway              Katy               77450        EV
Memorial Parkway Junior High School            21203 Highland Knolls Dr        Katy               77450
Deerwood Elementary School                     2920 Forest Garden Drive        Kingwood           77345
Foster Elementary School                       1800 Trailwood Village Dr       Kingwood           77339
HC Public Library Kingwood Branch              4400 Bens View Lane             Kingwood           77339
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VOTING LOCATIONS                                                                         PRINTED ON: 04/19/21
                     Location                               Address 1                City              Zip      EVSite
Hidden Hollow Elementary School                 4104 Appalachian Trail        Kingwood             77345
Kingwood Community Center                       4102 Rustic Woods Drive       Kingwood             77345        EV
Kingwood Middle School                          2407 Pine Terrace Drive       Kingwood             77339
Kingwood Park High School Performing Arts Ctr   4015 Woodland Hills Drive     Kingwood             77339
Shadow Forest Elementary School                 2300 Mills Branch Drive       Kingwood             77345
City of Nassau Bay Council Chamber              1800 Space Park Dr #200       Nassau Bay           77058
Bailey Elementary School                        2707 Lafferty Road            Pasadena             77502
BakerRipley Cleveland Campus                    720 Fairmont Parkway          Pasadena             77504        EV
Bobby Shaw Middle School                        1201 Houston Avenue           Pasadena             77502
Carroll Teague Elementary School                4200 Crenshaw Road            Pasadena             77504
Deepwater Junior High School                    501 Glenmore Drive            Pasadena             77503
East Harris County Activity Center              7340 Spencer Highway          Pasadena             77505        EV
Fairmont Elementary School                      4315 Heathfield Drive         Pasadena             77505-4242
Golden Acres Elementary School                  5232 Sycamore Avenue          Pasadena             77503
John Phelps Courthouse                          101 South Richey Street       Pasadena             77506        EV
Keller Middle School                            1711 Magnolia Street          Pasadena             77503
McMasters Elementary School                     1011 Bennett Drive            Pasadena             77503-2205
Nelda Sullivan Middle School                    1112 Queens Road              Pasadena             77502
Parkgate Community Church                       3715 Preston Avenue           Pasadena             77505
Pomeroy Elementary School                       920 Burke Road                Pasadena             77506
Red Bluff Elementary School                     416 Bearle Street             Pasadena             77506-3098
Sam Rayburn High School                         2121 Cherrybrook Lane         Pasadena             77502
Williams Elementary School                      1522 Scarborough Lane         Pasadena             77502-1674
G W Robinson Elementary School                  451 Kirby Road                Seabrook             77586
City of South Houston Municipal Court           1019 Dallas Street            South Houston        77587        EV
Pearl Hall Elementary School                    1504 9th Street               South Houston        77587-5000
Big Stone Lodge                                 709 Riley Fuzzel Road         Spring               77373        EV
Mildred Jenkins Elementary School               4615 Reynaldo Drive           Spring               77373
Timber Lane Community Center                    1904 Naplechase Crest Dr      Spring               77373
Twin Creeks Middle School                       27100 Cypresswood Drive       Spring               77373-6300
Wildwood Elementary School                      13802 Northpointe Blvd        Tomball              77377
MultiCultural Center                            951 Tristar Drive             Webster              77598        EV
Webster Civic Center                            311 Pennsylvania Ave          Webster              77598        EV
West University Place City Hall                 3800 University Blvd          West University Pl   77005        EV
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                EXHIBIT C
     Map and list of 2023 polling places
                                                                                                                        Case 4:14-cv-03241 Document 180 Filed on 03/21/23 in TXSD Page 21 of 27




                        John Phelps Courthouse
                                                                                       D
                        101 South Richey Street
                                                                                                         Deepwater Junior
                       "                                                                                 High School
                                                                                                         501 Glenmore Drive

                                    A
                                                  Jackson
                                                  Intermediate School                                  "
                                                  1020 Thomas Avenue Pomeroy
                                                                      Elementary School
                                                  "                   920 Burke Road
                                                                          "
                                                                                      C
                                                      Bobby Shaw
            Williams                                  Middle School
            Elementary School                         1201 Houston Avenue                        Keller Middle School
            1522 Scarborough Lane                                                                1711 Magnolia Street
           "                                          "
                                                                                                 "
                                    B
                                                                        Sam Rayburn
                  Nelda Sullivan
                                                                         High School
                  Middle School
                                                                   2121 Cherrybrook Lane
                1112 Queens Road
                  "                                       Bailey Elementary
                                                          School
                                                                           "          E                  Golden Acres
                                                                                                         Elementary School
                                                          2707 Lafferty Road
                                                                                                         5232 Sycamore Avenue
                                                      "                                                "
                                                                                                                                                East Harris County
                                                                                                                                                Activity Center
                                                                                                                                                7340 Spencer Highway

                                                                                                                          F
                                                                                             Parkgate
                                                                                             Community Church                                 "           "San Jacinto College
                                       Cleveland Ripley                                      3715 Preston Avenue
                                                                                                                                                            Central Campus Library
                                     Neighborhood Center                                   "                                                                8060 Spencer Highway
                                     720 Fairmont Parkway
                                                                                                  Harvey Turner                  Fairmont

                                                                   G
                                             "                                                    Elementary School              Elementary School
                                                                                                  4333 Lily Street               4315 Heathfield Drive
                                                                                Carol Teague
                                                                             Elementary School   "                              "
                                                                            4200 Crenshaw Road
                                                                               "




                                                                                                                                                                                     H




Legend
  "    Election Day Voting Locations - May 6, 2023 General and Special Election
Current Council Districts
                                          F
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                                                                                                       City of Pasadena: Council Districts
       0        0.75          1.5                              3                                                                                                                                            © 2023 Bickerstaff Heath Delgado Acosta LLP
                                                                   Miles                                                                                                                                  Data Source: City of Pasadena Illustrative Plan 1

I              Created: 3/16/2023
                                                                                                 with May 6, 2023 Election Day Voting Locations
                                                                                                                                                                                                                              adopted on August 16, 2022.
                                                                                                                                                                                                  Polling Locations obtained from Harris County Elections.
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                                                     ELECTION DAY VOTING LOCATIONS
                                            MAY 6, 2023 - GENERAL AND SPECIAL ELECTIONS

Location                                            Address                                City          Zip          Type
Cedar Bayou Junior School                           2610 Elvinta Street                    Baytown       77520-3826   ED
George H Gentry Junior High School                  1919 East Archer Road                  Baytown       77521-9310   ED
Goose Creek Memorial High School                    6001 East Wallisville Road             Baytown       77521        ED
J D Walker Community Center                         7613 Wade Road                         Baytown       77521-8338   EV
Saint Johns United Methodist Church                 501 South Alexander Drive              Baytown       77520        EV
William B. Travis Elementary                        100 Robin Road                         Baytown       77520        ED
B H Hamblen Elementary School                       1019 Dell Dale Street                  Channelview   77530-2409   ED
L W Kolarik Education Center                        1120 Sheldon Road                      Channelview   77530-3518   ED
Martin Flukinger Community Center                   16003 Lorenzo Street                   Channelview   77530        EV
Crosby Community Center                             409 Hare Road                          Crosby        77532        EV
Newport Elementary School                           430 North Diamondhead Boulevard        Crosby        77532-4103   ED
Hamilton Elementary School                          12050 Old Kluge Road                   Cypress       77429-2446   ED
Saint Marys Episcopal Church                        15415 North Eldridge Parkway           Cypress       77429-2005   ED
Deer Park ISD Education Support Center              2800 Texas Avenue                      Deer Park     77536        ED
Heritage Elementary School                          4301 East Boulevard                    Deer Park     77536-5646   ED
Kingsdale Recreation Center                         2218 Kingsdale Street                  Deer Park     77536-5828   ED
G W Robinson Elementary School                      451 Kirby Road                         El Lago       77586        ED
Forest Bend Homeowners Association Inc              4300 Laura Leigh Drive                 Friendswood   77546        EV
Alvin D Baggett Community Center                    1302 Keene Street                      Galena Park   77547        EV
Highlands Elementary School GCCISD                  200 E. Wallisville Rd                  Highlands     77562        ED
San Jacinto Community Center                        604 Highland Woods Drive               Highlands     77562-4546   EV
Hockley Community Center                            28515 Old Washington Road              Hockley       77447        ED
Beverly Hills Community Center                      10201 Kingspoint Road                  Houston       77075        ED
Brookwood Elementary School                         16850 Middlebrook Drive                Houston       77059-4700   ED
C E King High School Panther Stadium                11433 East Sam Houston Parkway North   Houston       77044        ED
C. E. King 9th Grade Center                         8530 C E King Parkway                  Houston       77044        ED
Charterwood MUD Administration Activity Building    16444 Cutten Road                      Houston       77070        ED
Cimarron Elementary School GPISD                    816 Cimarron Street                    Houston       77015-4308   ED
City Jersey Village Municipal Government Center     16327 Lakeview Drive                   Houston       77040-2029   EV
Clear Lake Intermediate School                      15545 El Camino Real                   Houston       77062-5794   ED
Conley Elementary School                            3345 West Greens Road                  Houston       77066-4920   ED
County Attorney Conference Center                   1019 Congress Avenue                   Houston       77002        EV
Courtyard by Marriott Houston Hobby                 9190 Gulf Freeway                      Houston       77017        ED
Deussen Park Senior Center                          12303 Sonnier Street                   Houston       77044-7208   ED
Emmott Elementary School                            11750 Steepleway Boulevard             Houston       77065-4366   ED
                                                                 -1-                                                  03/15/23
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Location                                        Address                            City          Zip          Type
Epps Island Elementary School                   7403 Smiling Wood Lane             Houston       77086        ED
Felix L Baldree Building                        13828 Corpus Christi Street        Houston       77015-3912   ED
Freeman Branch Library                          16616 Diana Lane                   Houston       77062        ED
Galena Park ISD Administration Building         14705 Woodforest Boulevard         Houston       77015-3231   ED
Genoa Staff Development Center                  12900 Almeda Genoa Road            Houston       77034-4636   ED
Gleason Elementary School                       9203 Willowbridge Park Boulevard   Houston       77064-6304   ED
Green Valley Elementary School                  13350 Woodforest Boulevard         Houston       77015-2825   ED
Harris County Cultural Arts Center              13334 Wallisville Road             Houston       77044        ED
Iglesia Bautista Libre                          10331 Veterans Memorial Drive      Houston       77038-1727   ED
Lakeshore Elementary School                     13333 Breakwater Path Drive        Houston       77044-1377   ED
Lone Star Flight Museum                         11551 Aerospace Avenue             Houston       77034        ED
McDougle Elementary School                      10410 Kansack Lane                 Houston       77086        ED
Milstead Middle School                          338 Gilpin Street                  Houston       77034        ED
North Channel Branch Library                    15741 Wallisville Road             Houston       77049-4607   EV
Prairie View A&M University Northwest           9449 Grant Road                    Houston       77070        EV
Quality Suites Cy-Fair at Jones Road            17550 Northwest Freeway            Houston       77065        ED
Rick Schneider Middle School                    8420 Easthaven Boulevard           Houston       77075-1106   ED
Saint Andrews Presbyterian Church               5308 Buffalo Speedway              Houston       77005-2122   ED
San Jacinto College Generation Park             13455 Lockwood Road                Houston       77044        EV
Sheldon Elementary School                       17203 Hall Shepperd Road           Houston       77049-1049   ED
SJC South Campus Fine Arts Center Building 15   13735 Beamer Road Entrance B       Houston       77089        ED
South Belt Elementary School                    1801 Riverstone Ranch Road         Houston       77089-5724   ED
Southside Place City Hall                       6309 Edloe Avenue                  Houston       77005        ED
Steve Radack Community Center                   18650 Clay Road                    Houston       77084        EV
University of Houston Clear Lake                2700 Bay Area Boulevard            Houston       77058        EV
West University Place Municipal Building        3800 University Boulevard          Houston       77005        EV
Woodcreek Middle School                         14600 Woodson Park Drive           Houston       77044-4492   ED
Woodland Acres Elementary School                12936 Sarahs Lane                  Houston       77015-6396   ED
Yeager Elementary School                        13615 Champion Forest Drive        Houston       77069        ED
Vera Brummet May Community Center               2100 Wolf Road                     Huffman       77336        EV
Atascocita Middle School                        18810 West Lake Houston Parkway    Humble        77346-3186   ED
Eagle Springs Elementary School                 12500 Will Clayton Parkway         Humble        77346-3006   ED
Holiday Inn Express & Suites Atascocita         5619 Farm to Market 1960 East      Humble        77346        EV
Humble City Hall                                114 West Higgins Street            Humble        77338        EV
Northbelt Elementary School                     8105 East North Belt               Humble        77396        ED
Pine Forest Elementary School                   19702 West Lake Houston Parkway    Humble        77346-2000   ED
River Pines Elementary School                   2400 Cold River Drive              Humble        77396-4290   ED

                                                             -2-                                              03/15/23
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Location                                            Address                          City           Zip          Type
Staybridge Suites Houston - Humble Beltway 8 E      4819 Canyon Lakes Trace Drive    Humble         77396        ED
The Light of the World Christian Fellowship         16161 Old Humble Road            Humble         77396-3851   ED
Whispering Pines Elementary School                  17321 Woodland Hills Drive       Humble         77346-3001   ED
Willow Creek Elementary School in Humble ISD        2002 Willow Terrace Drive        Humble         77345-1785   ED
First Baptist Church of Jacinto City                10701 WIggins Street             Jacinto City   77029-2515   ED
Hyatt Place Houston/Katy                            1401 North Westgreen Boulevard   Katy           77449        ED
Sandra Bales Walker Elementary School               6424 Settlers Village Drive      Katy           77449-6503   ED
Foster Elementary School                            1800 Trailwood Village Drive     Kingwood       77339        ED
Hidden Hollow Elementary School                     4104 Appalachian Trail           Kingwood       77345-1099   ED
Kingwood Community Center                           4102 Rustic Woods Drive          Kingwood       77345-1350   EV
Kingwood High School                                2701 Kingwood Drive              Kingwood       77339        ED
Kingwood Middle School                              2407 Pine Terrace Drive          Kingwood       77339        ED
Shadow Forest Elementary School                     2300 Mills Branch Drive          Kingwood       77345-2100   ED
Woodland Hills Elementary                           2222 Tree Lane                   Kingwood       77339        ED
Northampton Elementary School                       6404 Root Road                   Klein          77389        ED
City of La Porte City Hall                          604 West Fairmont Parkway        La Porte       77571-6275   EV
La Porte ISD Instructional Technology Building      9832 Spencer Highway             LaPorte        77571        ED
City of Nassau Bay Council Chamber                  1800 Space Park Drive No 200     Nassau Bay     77058-3508   ED
Bailey Elementary School                            2707 Lafferty Road               Pasadena       77502-5194   ED
Bobby Shaw Middle School                            1201 Houston Avenue              Pasadena       77502        ED
Carol Teague Elementary School                      4200 Crenshaw Road               Pasadena       77504-3614   ED
Cleveland Ripley Neighborhood Center                720 Fairmont Parkway             Pasadena       77504        EV
Deepwater Junior High School                        501 Glenmore Drive               Pasadena       77503-1830   ED
East Harris County Activity Center                  7340 Spencer Highway             Pasadena       77505        EV
Fairmont Elementary School                          4315 Heathfield Drive            Pasadena       77505-4242   ED
Golden Acres Elementary School                      5232 Sycamore Avenue             Pasadena       77503-3950   ED
Harvey Turner Elementary School                     4333 Lily Street                 Pasadena       77505-3735   ED
Jackson Intermediate School                         1020 Thomas Avenue               Pasadena       77506        ED
John Phelps Courthouse                              101 South Richey Street          Pasadena       77506        EV
Keller Middle School                                1711 Magnolia Street             Pasadena       77503        ED
Nelda Sullivan Middle School                        1112 Queens Road                 Pasadena       77502        ED
Parkgate Community Church                           3715 Preston Avenue              Pasadena       77505-2012   ED
Pomeroy Elementary School                           920 Burke Road                   Pasadena       77506-5242   ED
Sam Rayburn High School                             2121 Cherrybrook Lane            Pasadena       77502-4101   ED
San Jacinto College Central Campus Library          8060 Spencer Highway             Pasadena       77505-5999   ED
Williams Elementary School                          1522 Scarborough Lane            Pasadena       77502-1674   ED
Kaila Sullivan Chapel and Hall at Clear Lake Park   5000 NASA Road 1                 Seabrook       77586        ED

                                                                 -3-                                             03/15/23
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Location                                         Address                            City            Zip          Type
Seabrook Intermediate School                     2401 North Meyer Avenue            Seabrook        77586-2964   ED
City of South Houston Municipal Court            1019 Dallas Street                 South Houston   77587        EV
Above and Beyond Fellowship                      20498 Rhodes Road                  Spring          77388        EV
French Elementary School                         5802 West Rayford Road             Spring          77389-2981   ED
Kuehnle Elementary School                        5510 Winding Ridge Drive           Spring          77379-8899   ED
Mildred Jenkins Elementary School                4615 Reynaldo Drive                Spring          77373-6821   ED
Strack Intermediate School                       18027 South Kuykendahl Road        Spring          77379-8199   ED
Timber Lane Community Center                     1904 Naplechase Crest Drive        Spring          77373        EV
Lakewood Elementary School                       15614 Gettysburg Drive             Tomball         77377        ED
MultiCultural Center                             951 Tristar Drive                  Webster         77598        ED
Pipers Meadow Community Center                   15920 Pipers View Drive            Webster         77598-2550   ED
Webster Civic Center                             311 Pennsylvania Avenue            Webster         77598-5230   EV




                                                              -4-                                                03/15/23
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                EXHIBIT D
       Map showing proximity to 2023
                       polling places
                                                                                                                      Case 4:14-cv-03241 Document 180 Filed on 03/21/23 in TXSD Page 27 of 27




                                                                                     D
                        John Phelps Courthouse
                        101 South Richey Street
                       "                                                                                Deepwater Junior
                                                                                                        High School
                                                                                                        501 Glenmore Drive

                                    A
                                                   Jackson                                             "
                                                   Intermediate School
                                                   1020 Thomas Avenue Pomeroy
                                                  "                    Elementary School
                                                                       920 Burke Road


                                                                                     C
                                                                      "
                                                       Bobby Shaw
            Williams                                   Middle School
            Elementary School                          1201 Houston Avenue                    Keller Middle School
            1522 Scarborough Lane                     "                                       1711 Magnolia Street
            "                                                                                 "

                                    B
                  Nelda Sullivan                                          Sam Rayburn
                  Middle School                                           High School
                1112 Queens Road                                          2121 Cherrybrook Lane
                                                      Bailey Elementary "

                                                                                 E
                   "                                  School                                            Golden Acres
                                                      2707 Lafferty Road                                Elementary School
                                                     "                                                  5232 Sycamore Avenue
                                                                                                       "
                                                                                                                                              East Harris County
                                                                                                                                              Activity Center


                                                                                                                         F
                                                                                                                                              7340 Spencer Highway
                                                                                           Parkgate                                          "           "
                                                                                           Community Church                                               San Jacinto College
                                       Cleveland Ripley                                    3715 Preston Avenue                                            Central Campus Library
                                     Neighborhood Center                                 "                                                                8060 Spencer Highway
                                     720 Fairmont Parkway

                                                                 G
                                              "                                                   Harvey Turner                Fairmont
                                                                                                  Elementary School            Elementary School
                                                                                                  4333 Lily Street             4315 Heathfield Drive
                                                                             Carol Teague
                                                                          Elementary School   "                                "
                                                                         4200 Crenshaw Road
                                                                             "




                                                                                                                                                                                   H




Legend
  "    Election Day Voting Locations - May 6, 2023 General and Special Election

       1 Mile Radius Around Each May 2023 Voting Location


Current Council Districts
                                          F
            C


                       D




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A


      B




                               E




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       0        0.75          1.5                            3                                                     City of Pasadena: Council Districts                                                    © 2023 Bickerstaff Heath Delgado Acosta LLP

                                                                                                             with May 6, 2023 Election Day Voting Locations
                                                                 Miles                                                                                                                                  Data Source: City of Pasadena Illustrative Plan 1

I               Created: 3/20/2023
                                                                                                                with a 1-Mile Radius Circle Around Them
                                                                                                                                                                                                                            adopted on August 16, 2022.
                                                                                                                                                                                                Polling Locations obtained from Harris County Elections.
